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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION




UNITED STATES OF AMERICA,

v.                                                                     4:92cr4013-WS

MARLIN DAVIS,                                                          4:05cv411-WS

                     Defendant.



                   ORDER ADOPTING THE MAGISTRATE JUDGE’S
                       REPORT AND RECOMMENDATION

       Before the court is the magistrate judge's report and recommendation (doc.

1671) docketed November 8, 2005. The magistrate judge recommends that the

defendant's renewed motion to reopen his section 2255 proceeding be summarily

dismissed. The defendant has filed objections (doc. 1672) to the report and

recommendation.

       Upon review of the record in light of the defendant’s objections, the court has

determined that the magistrate judge’s report and recommendation must be adopted.

       Accordingly, it is ORDERED:

       1. The magistrate judge's report and recommendation (doc. 1671) is adopted

and incorporated by reference in this order of the court.
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       2. The defendant’s renewed motion to reopen his section 2255 proceeding (doc.

1666) is hereby summarily DISMISSED as an unauthorized second or successive

motion to vacate.

       3. The clerk shall enter judgment accordingly and shall close Case No.

4:05cv411-WS.

       DONE AND ORDERED this December 1, 2005.




                                        /s William Stafford
                                        WILLIAM STAFFORD
                                        SENIOR UNITED STATES DISTRICT JUDGE




Case No. 4:92cr4013-WS
